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   8                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   9                              SOUTHERN DIVISION
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        ROVI GUIDES, INC.                          CASE NO:
   11                                              2:19−cv−00275−AG−FFM
                       Plaintiff(s),
   12
              v.                                   ORDER REGARDING EARLY
   13 COMCAST CORPORATION , et al.                 MEETING OF PARTIES AND
                                                   SCHEDULING CONFERENCE
   14
                                                   Scheduling Conference:
   15
                      Defendant(s).                May 20, 2019 at 09:00 AM
   16
                                                   (Fed.R.Civ.P. 16(b) and 26(f))
   17
   18         Welcome to the Court of Judge Andrew J. Guilford. The responsibility for
   19    the progress of Federal Court litigation is upon both the attorneys and the Court.
   20    Counsel are ordered to be completely familiar with the Federal Rules of Civil
   21    Procedure, the Local Rules of the Central District of California, and the FAQ’s
   22    about Judges’ Procedures and Schedules posted by these Chambers on the Central
   23    District website at www.cacd.uscourts.gov. Counsel are also ordered to keep the
   24    Court informed concerning the status of this case, “to secure the just, speedy, and

   25    inexpensive determination of every action” (F.R.Civ.P. 1), remembering that
   26    district courts have inherent power to control their dockets to promote “economy
   27    of time and effort for itself, for counsel and for litigants.” Landis v. North Am.
   28    Co., 299 U.S. 248, 254 (1936).

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             1.     Early Meeting of Parties. IT IS ORDERED that, as provided in
   2    Fed.R.Civ.P. 26(f), the parties shall meet at least 21 days before the Scheduling
   3    Conference, and report on the meeting in writing to the Court within 14 days after
   4    the meeting. In all cases, the report SHALL STATE THE PROPOSED DATE

   5    AND LENGTH OF THE TRIAL, whether it will be a jury or non−jury trial, and
   6    whether the parties prefer the Court Mediation Panel or private mediation. Failure
   7    to comply with this Order may result in sanctions.
   8         2.     Scheduling Conference. IT IS FURTHER ORDERED that this case
   9    is set for a Scheduling Conference under Fed. R. Civ. P. 16(b) on the date and time
   10   stated in the caption of this Order, in Courtroom 10D of the United States
   11   Courthouse, 411 West Fourth Street, Santa Ana, California. Counsel shall appear
   12   at the Scheduling Conference and at all pretrial meetings fully informed
   13   concerning the facts of the case and shall be the attorney who will be in charge of
   14   the trial, absent good cause for the appearance of other counsel or for a telephonic

   15   appearance. If there is a first appearance by any party after the date of this Order,

   16   counsel for Plaintiff shall give a copy of this Order to that party.

   17      IT IS SO ORDERED.
   18
   19 DATED: March 22, 2019
   20                                       Andrew J. Guilford
                                            United States District Judge
   21
   22 Courtroom Deputy Clerk:
   23 Melissa H. Kunig
      melissa_kunig@cacd.uscourts.gov
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